Case 2:21-cv-00678-JS-AYS Document 93 Filed 06/17/21 Page 1 of 1 PageID #: 1341




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

In re HAIN CELESTIAL HEAVY METALS                 Case No.: 2:21-cv-00678-JS-AYS
BABY FOOD LITIGATION
                                                  NOTICE OF WITHDRAWAL OF
This Document Relates To: All Actions             MOTION TO APPOINT GARY F. LYNCH
                                                  AS INTERIM CO-LEAD CLASS
                                                  COUNSEL (ECF NO. 64)



       PLEASE TAKE NOTICE that Gary F. Lynch of Carlson Lynch, LLP hereby withdraws

his own application for appointment as Interim Co-Lead Class Counsel (ECF No. 64) in the above-

referenced matter. Mr. Lynch’s co-applicants, Jeffrey K. Brown of Leeds Brown Law, P.C. and

Judge John G. Marks (Ret.)., intend to move forward with their own applications for the Court’s

consideration.

Dated: June 17, 2021                        CARLSON LYNCH, LLP

                                       By: /s/ Gary F. Lynch
                                           Gary F. Lynch
                                           1133 Penn Avenue, Floor 5
                                           Pittsburgh, PA 15222
                                           Tel. 412-322-9243
                                           Fax: 412-231-0246
                                           glynch@carlsonlynch.com

                                            Attorneys for Plaintiffs
                                            Lisa Gray and Heather Age




                                              1
